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    1                                UNITED STATES DISTR ICT C OURT
                                     SOUTHRRN m sTltlc'
                                                      roFFLom o                                          D .C
    2                                                                       yluEo BY
                                  CRIM INAL CASE NO .:9:22-M .
                                                             1-08332-8       -1
    3                                                                                kts jb Lbjj
    4                                                                                INGELA E'UOBLE
                                                                                               sT cT.
    5                m RE SEALED SEARCH W ARM NT,                                    CL:sKFufs
                                                                                     so.o    LXDl
                                                                                               .-yps
                                                                                                  ''     .
                                                                                      .
                                                     /
    6

    7                       SW O RN D ECLAM TIO N OF PA TRICK BRU CE BER GY

    8
                     STATE OF FLORIDA
    9
                     COUNTY OF PA SCO
    19                       1
    !                         ,PATRICK BRUCEBERGY,herebydeclare,underpenaltyofperjurypursuantto28
    11
     ,                                                                                                          N
                     U.S.C.1746,that1havefullpersonalknowledgeoftheeventsandmatterssetforth herein,and
    12
                     testify thatthefollowingistrueandaccuratetothebestofmyknowledge:
    13
                      1. Iam overthelegalage,and Iam competenttotestify.
    14

    15
                     2. lam anAfghanistallVeteranthatprovided contractsupporttotheDoD asanInformation
i   16
    17                   AssuranceSecurityOftker(1ASO)foracombined10years.Myhighestlevelofclearance
!
i                        obtainedwasTS/SCI.
    18
    I
    1!
     9

I
    1
    20
                     J. Thefactsstatedhereinarebmseduponmypersonalknowledge,dqcumentedevidence,and
     1
     1

    2I
     1                   beliefasafact-wimessandguestofPatrickByrne,MichaelFlynn,SidneyPowell,andothers
    2l
     2                   atTrumphtemational,DC.,TheWillardhtercontinental,WestininVirginiaandothersfrom
    l
    k
    1                    November15,2020,toon oraboutJanuary 17,2021,whereIwasaguestunderantmsigned
    73
                         ordatedNon-DisclostlreA w eem entw ithRudy Giuliani,which Idonotrecognize.M y
    24                                                             .

    1                    dialogueand evidenceweredocumented andrecorded inreal-timeastheirguestand asa              .
    ià
     l                   whistle-blowerandwerepublished in my lastbook,OPEM TION SHADOWGATE:râc
    26
                         AmericanAwakening.
    27

    28
         IN RE SEALED SEARCH W ARRAN T,-1
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    1                4. OnAugust18,2022,PatrickBm etiled asworn affdavitIN RE SEALED SEARCH

    ?                    W           -C       ALCASENO.:9:22-MJ-08332-BER-1,whereheassertsclaims
    )'
    3I
                         bmsed onhisconversationonDecember18,2020,meetingwith PresidentDonaldTzump,
    I
    4                    Rudy Giuliani,SidneyPowell,Gen.MichaelFlynn,andPatCipollone.

    5
    6                5. IthmsbeenwidelyreportedthatastafferforPeterNavarro,GarrettZiegler,assistedthegroup

    7                    incircllmventingW hiteHousesecurityprotocolsandaccessingtheW hiteHouseforthe
    8                    meeting on December18*.GarrettwasalsoworkingwithRudy Giulianion HunterBiden's

    9                    laptop.1metwithRudyand ToreM armsatRudy'sresidenceinNew Yorkafew monthslater,
10                       arotmdM ay2021,toauthenticatedocum entscont ined ontheim ageofHunter'sharddlive

11                       wewereprovidedbyRudy.Tore'sthen ls-year-oldminorchildwasalsopresentdulingthe
12                       examinationofHunter'slaptop.IleR afew dayslateraherbeingaskedbyTore,whilein

13                       Rudy'shotelroom,tolie.Irefusedandrecorded avideoofthealtercation thatensuedwhenI
14                       leR,butlkeptmyreasonforleaving largelyfrom thepublicatthetimeforfearofretaliation,

15                       likewhatlateroccurredwhenIwasgoingtomeetwithLinW ood andprovidehim evidence
16                       showingsomeinformation hewasbeinggivenby ToreandothersinDecember2020was

17                       fabricated.ThateventtookplaceonoraroundDecember3'$2021,andIbelievemarkedthe
18                       beginningofatactical,coordinatedattackonmebyPatrickByme,M illieW eaver,and Tore

11
 9  -
    -
                         todi
                            scredi
                                 tmeanddeskoymycompanytopreventsalesfrommybookexposingthemfrom
20                       being widely disseminatedand trusted.

21
22                   6. ImetGarrettZieglerfortheflrsttimeon oraroundJmmary 11th,2021,attheW illardHotelirl

23                       DC.InattendanceatthatmeetingwasRudydiuliani,PatrickBm e,MillieW eaver,Gavin
24                       W ince,PhilWaldron,andahandfulofothers.AsIwalkedinPatrickByrnewmsjustleaving
25                       andwmqactingvisiblyupsetfollowingthemeetingw1t1:Rudyand Garrett.

26
27                   7. Iexchangedinformation with Garrett who hadtoldmeaboutan emailsentby formerNATO
 l
18                       SACEUR andPresidentObama'sNationalSecurity Advisor,Gen.JamesJones,requestingto
         IN RE SEALED SEARCH W ARR ANT,-2
'



     I
    Case
     )
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     1                     setupameetingwithPresidentTrump todiscuss50 dominance.Garrettsentmetheemaila

    2                      shorttimelater.Iwouldnotethatalthough theresponseto Jones'requestby PeterNavarro
    3                      was,ulet'sgethim in,''theemaillreceived from GarrettwasmarkedasGPRE-

    4                      DECISIONAL,EXEM PT FROM FOIA''which sotmdslikeadecisionhadbeenmade,yet
     5                     thiscorrespondencewouldhavebeen exemptedfrom anyFreedom OfJnfonnationRequest

     6            '        (FOIA).
     7

1    8                 8. OnorarotmdNovember30,2019,MillieWeaver,acontractjoumalistwithInfowarsfor
i    9                     roughly 8-years,andhercomm on-law husband,GavinW ince,didavideoreportin Kenm cky
I                                    :
    10                     titled, qW illThey StealThe2020 Election?j,ItwasjaurxporztjyyJordan GaenofRaw

    11                     Story thatPakickByrneandJoshuaM errittwerealsoinvolvedintheinvestigation ofthe

    12                     smneKenmcltyelection scandal.In alatervideoproducedinJanuary2022,onorarotmdthe       '
I                                                 .                                    '
    13                     sametimeandlocation PatrickByrnementionsinhisaftidavitbeforethiscomt M illie,
    11
     4
     .
                           Gavin, Tore,PatrickByme,andRudy Giuliania1lmetinM iami,alongwithalargegroupof

    15                     u-
                            roresays'foll
                                        owers.Ibel
                                                 ievet
                                                     hi
                                                      sisthemeetingPatrickByrneisreferri
                                                                                       ngtoi
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    16                                                      .   . .   o,

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    19                       i.1 .3'         #
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                                  k
                                  )
    20                         '

    21                     afidavitwithRudyGiulianiwhichheclaimsRudytoldhim fortheflrsttimethatPresident
    22                     TnlmphadtoldRudyprivatelythateveninghewisrescindinghisappointmentofSidney
    23                     Pow ellmsSpecialCounseland herClearance.
    24
    I
    ?5                 9. AtthesametimePakickByrne,RudyGiuliani,MillieWeaver,GavinWince,andToremeta
    26
    1                      theJanuary 2022meeting describedby PatrickBp'neinhisaffidavitbeforethiscourt, Iwms
    I
    27                     attackedbothonlineand directly tomyphonewithmultiplethreatsby dozensofToreSays
    i
    28                   followersthathadbeentoldcompletely fabricated andfalseinformationaboutme,aswasto1
         IN RE SEALED SEARCH W A        T,-3
Case 9:22-mj-08332-BER Document 87 Entered on FLSD Docket 08/25/2022 Page 4 of 11




1                       tothem byM illie,Gavin,andTore.Pakick Bym ealso didan interview w1t.
                                                                                           11Torewherethey

2                       attackedmewithliesto discreditandpotentially causemepersonalhsrm by Tore'sfollowers.

3                       TheattackswerebecauseIhadmetwithPatrick ByrneandToreinlate2021attheVinoy

4                       Hotelin St.Petersbllrg,FL.,wherelwasmadeawareduringourconversation whilesmoking

5                       mari
                           juanawithToreandPatrickontheporchofhishotelroom,ofaplotagainstGen.
6                       M ichaelFlynnand hisbrother,Joseph Flynn,thatinvolvedm ergingGen.Flylm 'sççcyber-

7                       soldiers''andtopotentially stealingthevoterdataPaz ckByrne'scybertesm wmscollecting

8                       aspm'toftherecotmt.

9

10                   10.A sIw msleavingthatmeeting,ImskedPatlick Byrneifhewouldbewillingto answ erafew

11                       questionsformy forthcomingbook,OPEM TION SHADOWGATE:TheAmerican

12                      Awakening,andheagreed.In it,Im entioned Flynn'scyber-armyand how thevalueofthe

13                       datathey werecollectingneededtobeaccountedforandprotected.n iswmqbmsed on my

                         conversationfrom thepreviouseveningwithPakickBymeandTore,aswellasmy attemptt
14
1h
 s                      throw adswrench'',soto speak,in theplansdiscussedthenightbefore,intheonly way Iknew
 l
16                      how.Ialso askedhim toanswerseveralquestionsaboutwhattranspired in DC withregardst

17
 I
                         my afsdavitthatw astohavebeengivento Gen.Flynn andPresidentTrump.Thefollow ing
E
i                        day Iputtogetheralistof5questionsandemailedthem toPatrick Byrne.W ithinavery shol't
18
 .
I
!9                       time,likethenextday,IreceivedPatrickByme'sresponse,(exhibit1)whichIfoundquite
I

20                       shockinglyhonest,asw ellasrelevanttoPatdck Byrne'shonestyasitrelatesto hissworn

21                       affidavit.

22

23                   11.IwasinvitedtoDC byM illieW eaverand Gavin W inceon oraroundNovember10,2020,

24                       andarrivedinW ashington,DC,onoraroundNovember15th.M illie,Gavin,andToreM aras

                         hadarrivedbeforemeandwerebeingputupby PatrickByrneatTnlmplntem ationalHotel'
!i5
36                       DC.Anattorney,StephenPigeon,andScottBennettalsojoinedourgroupworkingto5nd
27                       evidenceofelection fraud,withthem ainfocusbeingtoldtomeputontheforeir intluence

28                    thatwould allow them to usetheInsurrectionActand callin NationalGuard.
      IN RE SEALED SEARCH W            ,-4
    Case 9:22-mj-08332-BER Document 87 Entered on FLSD Docket 08/25/2022 Page 5 of 11
10/19121,8Q:PM                      (11)InbozI             lProtönMail

 Re:Patrick Bergy Book Q uestions

 From : Patrick Byrne
 To: ' patrick.bergy
       '
                                                     >
       Catherine                                    '
 Date: Thursday:Augus't5th.2021 at5:09 PM


    HiPatrick
    IWillansweryourthoughtsbelow inCAPS(notlo implyshoutiong,bùtjusttosetapàrtmyte/).
    Patrick M .Byrn:

    SentwithProtonMailSecure Email.

             Or
       -------
       On Thur iginal
              sday,  M essa5t
                    August geh,
                              -------at1:
                               2021     45 PM,                                   . k
                                                                                   '
                                              patrickbergy ,                                      wrote


           Patrlck.
           Thank-you t rdinnerand agreeing to answera few questlons formy book7Itwillgo in
           unedited.Itwas nice to be abletn dearupthefalse cl
                                                            aimssomeone presentedyoùwiththat
           Ihad beenattacklng you.Nothing could befurtherffom the truth.Igqta Iittle,'i
                                                                                      sàlt ''asTore
           sayssometimes,butmostion'tblameme.Infact,wheneversomepneasksaboutmy
           personalexperiencewithyou,Isay youw#reone ofthe few peoplethàtanswered me
           honestl#,evqn though Imaynothave Iiked youranswefs.lbelleve m utp bea good man
           thatloveshiscount!y andwasbetrayed b9lhose insqniorpositionsofpowerwhile believing
           youweredoing something good.In otherwords,you're me...justwitha lotmpre resources
           and a Iittle more PC.RIGHT.FAIR ENO UGH

           Youdidn'texpectsoftballsfrom me,ldoubt.NO IDID NOT I'm onlyséekinj anG ersandtruth,sir.Imean
           no disresped intbese questions.NO W ORRIES Infad,Ipersonall y believe l'd bèdisréspeding you not
           bringing thisto yourattention astheir'
                                                actionsreflectdiredl
                                                                   y onyou.andthisisnotyou,Idon'    tbelieve.I
           FEELTHESAM E W AY ABUUI-YOU.ALW AYS SEEM ED STRAIGHT AND HONORABLE.You've alwâys
           respectèd my Kervice!I'm only asking you show thatnow.

           Question 1:Please explain whathappened to my amdavitaoeryotlgave itto Gen.Flynn.
           W e al1metwith youthe dayaqerm u metwith Gen.MichaelFlynn IqyourDC m:eting room
           w hile wàitlng forJoe Flynn.You had taken alIofthe aMdavits ftpm W hisjle-blower!: that
           previous nightand gave to Gen.Flynprand yo4told me % athappeped,b4tIwould Iike you
           to tellthe story,and perhapsadd yourthoughts? SURE.THREE THING S:
           1)YOUR AFFAIM VITWAS READ AND ABSORBED.
           2)THEW HISTLEBLOW EKSW ERE METW ITH AND DEBRIEFED.
           3)EVERYTHING THEYAND YOU 1 dA(7TO SAY GOT PUI'INTO THE LARGER PIG UREW EW EREFORMING.
           THEINFORMATIONM FROM THEW HISTLEBLOW ERSIN ARIZONA COULD IM EDMIATELYINFORM W HAT
           WEWEREDOING;YOLIR BIGGER PIG UREINFORMATION,WHIW lACCEC W ITASTRUTUFUL,DlD NOT
           HAVEA PRECISEAPPLICATION'
                                   /THOUGH ITWASVAtUABLEFOROURSITUATIONAIIAWARENESS.
         l.pmtonmail.com*m/inbofwphogM :xauA BM mezTd- vnHmoypglzllLsaWnu- bl
hqps://mai                                                                  v/pq48i
                                                                                  yzMrzl'Kzc l
                                                                                             DjEYœ lWdxRupouM oorA=r 1/4
'
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Jcnsml,smepMp
                                                (11)Irèoxl              IPriilonMal
                 * TOREWASTAKEN OUTAN INTERVIEW ED A SOMEPEOPLElKNQW /R/M 1114INTELIZ CNCE
                 COM MUNITYW HO AREABSOLUTELY ON KOURSIDETHW CAM EBACKTEG ING'M E:'SI?EKNOW SSOMF
                 THINGSAND HASBEEN BEHINDJ'HECMRTAIN,:MTSHEALS9 #IW EXA6ERAJES;DFFLECW,CHANGES
                            DLYTkY/NG T0 THROUGH PEOPLEOFF.AND WEG NNG RCLY/M HERFUkANYIHING
                 SUBJECTSM PI
                 FACTUALBECAUSEw ECAUGHT HER lk Too MANY LIESAND EXAGERAAONSOVERTHRE:HouRs''
                 (PRECISELYM 1W ARNED HER'IMEYW OULD DO IFSHEDlD NOTHEED A LPTTLECOACHING FROM ME).
                 BECAUSEYOU CAMEIN WIm HER,YOUW EREPAINTEDW ITHTHFSAMEBRUSH.
                 5)BUTPRIMARILY,YOUR INFORMATION,WHILEtXPLAININGTHEBIG PICTURE,DlD NOTGIVEUS
                 ANYTHING ACTIONABLETO USEIN OUR BATII-F,DID 114 MAYBFIT DlD.

    INGENEM L,THOUGH,YOU BMAVETO UNDERSTANRTHATMIKE'AND IFrK ljHAD,MUNDREDSOFPAGES
    CkOSSING OURDLSKSIN THOSEDAYSEVERYDAV.W ESKIMMEDW H/TWEC/ULD,TOOKFRUM ITW HAIWE
    COML
     'jl
         D.AND KEPTRUNNING.
    '
            j.




                 Ques:on2:Lara Le an,had a conference callw1t11Me,Mlllle gpd Gavinjustnfforthe
                 release pfSha4pw-Gateand@qbsequentarref ofMIIll:WeavelH#rbpsManàwasalK on
        2
                 ZC CZII.W d a monz Iator,aK ordlngto Millie and Gaviny Lara i
                                                                             nforYedthem herhlghly
                 cediMlesourcetold herthatlhelrarrestwasprdlqstrgyod upm
                                                                     .
                                                                         qçlagslj#d io4m onW rlght-
                 Patterson A rForœ Base.

              Knowlngtbisand knowing the credlbllP ofLgra Logan!lnyouroplnlon,why h@s nota single,
            ' 'blue-checr journallstevercalledto Intervlew me,(Including Lara);lnvestlgate orreportthe
        !
        -. bi
            zarrearrestofgnAmericanJournaIstnowonI
                                                 Yonq-ye@rpppl
                                                             verory?NO, DIRECT
        / KNOW LEDGE BUT IT IS CLEAR THE PRESS IS NOT INDEPENQEK IT IS IUST PART
                 OF THE SYSTEM

                 QuesNon3 (j@rt1):M youknow,IhavebpenveryvoçalaboutSldney Powepland Gen.
                 Flynnforglvlngaplatform toconvictedfelonsIIkeAIIAkbar(a% AIIAlexander)whols
                 repoqedly undqrInvestigationf:rlncitlng theJ@huary 6*,''mlsdlrqçtlon Insurfectlpn,/qlld
                 JonathanLee Rlches,whom fabrlcatedlastoryclaimiùg Imoiestedmydaughterwhenshe
                 was 1Q.R is,ofcourse,lseasilydlsprov:dbymypasspprtbeiY *11 Iwasdèployqdin
        ) Afgbanistan,thenwentstralgbttoSoum KoreaforMenextsuyeafsandonl         ysaw mycbildren
        . a handfulofNrùes slnce she was ;.Yo4 tôld m e yoù W ere aw are.bfmy hàvlng Issueé w1th
        1
          GenefalFlynn.DId Gen:Rynn orJoe Flynnevercometoyouahoutthlsknowlw we have a
          mutualfrlendto help answermyquestlons? IDON;T KNOW .IJUST FIEARD IN THE LAST
          FEW W EEKS YOU W ERE SM G GING M IKEAND M E ON SOQIAL M EDIA.M LTHE
        ) OTHER STUFF,PATRICK ABOUT YOUR DAUXHTER,SOKTH KQREA.-..NONE OF US
        l KNOW ANYTHINGABOUTANY QFTHAT.YOU ACTAS IFW E AREALLSTUDYING YOUR
        ! LIFE.YOU ARE ON MOLECULE lNA GAS YHAT IS SW IRLINQ AROUN; US.
        î IemàiledSidneyPowellwarningherwlo bewaàand:her:spondedmankingr:QforIeïng
        j herandLinWoodknow,butneverd1danything.Hèremalllslistedinmyaffidavit.Sbenever
        . xn
        j respvo
               l
               chtd
                  ed
                   edfeto
                        loa
                          nnn
                            yrema
                               edl
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                                 slaAk
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                                                                                            vëa
        l        chrlstlan based Movem entand Is ùow beir!g Investlgatéd forIhditlhg M e ekents ofJanuary 6,
        ,
                 uslngthesamelactlcsthedocumentajyShadow-Gatewasexposlng.InfacjmiAkbarw@s@
                 subjed ofShadow-Gate2 forhIsrole lnle tactlcal,cbordlnated attacksto dlscfedltShadow-
                 Gatq 1.

                 Sidney evenhad beengiven a copy ofMe same elec:oniniuepce aKdàvitIgaveyou,and
                 AIIAkbarwasIisted InItaswell.W bywashegivena plafoe ,àhdthé signed,G brn
-                                                                                                              2A
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10/19/21.B:26PM                      (11)Inbox                ProtonMail
       aëdavitfrom anAfghanistan veteran/DoD whistle-blowerthatheld an above top-secret
       dearanceforovera dem de and spent3-yearsfighting socialmediainfluencepperations at
       the tip-of-m e-spearforthe Depadm entofDefense covered-up? ltcould be argued based on
       currentreporting on Alex Jones andAliAkbar!had Sidney Powellacted on the informatlon
       she has acknowledged receiving,the events In DC on January 6thwould have turned out
       m uch di lerently,and Trump would stillbe president.
       YOU W ANT AN HONEST ANSW ER? IT IS BECAUSE YOU COM E ACROSS ASA CRANL YOUR QUESTIONS
       SHOW HOW OUT OFTOUCH YOU ARE.''IW ROTE SIDNEY POW ELLA LFTTER AND HERE IS A RECEIPT SHE
       RFAD IT AND W HY DIDN'T SHE USETHIS OR THAT IN SO M E FILlNG...''BERGYTHAT'S W AHEREYOU GO
       BATSHIT.YOU ARE UPSET BECAUSE1W O PEOPLEAT THE CENTER OF GLOBALW ENTS W ERE HANDED A
       50 PAGEMEMO BY SOMEONETHEY DID NOT KXOW ....AND YOU AREASKING W HYTHEYDID NOTDO
       THIS ORTHAT.IT'SJUS'TCRAZY,BUDDK AND THEMOREYOU COMEACROSSAS LACKING IN BASIC
       SOCIALXWARENESSS,THEDEEPERYOURMEMOSGETSHUFFLEDTO TFIEBOTTOM.
       Question3 (pad 2):W hatwillyourpeople do now thatyou know peopleworkingforyour
       organtation fabricated a news article thatIm olested m# daughter.and w hatAliAkbardid to
       M illie,Tore and myselfpostœ hadowGate? And whatwillyou do to help preventthis in the
       future?Asyou knowtTore has a devoted,volunteercyberarmy numbering in the 10's of
       thousands dispersed overm ultiple socialnetwork pl@tform sworldwide and has a vely strong
       vettingprocess soitcanbedone.PATRICE WHO FABRICATED?WHAT?BECAUSE
                                                                   D N OW
        FLYNN STOOD ON A STAGEAND A GMY WALKED ON IN THE BACKGROUN                    .   !
       FLUYNN IS RESPONSIBLE FOR AN ARTICLEABOUT YOU M OLESTING YOUR KID
       W HEN IT COULD NOT HAVE BEEN YOU BECAUSE YOUR PASSPO RT SHOW S YOU
       W ERE IN SOUTH KOREAUAND W HY DIDNT FLYNN GG THE 'TIMES OF LONDON''TO
        PRINT A FRONT PAGE EXPOSE ON THE OTHER ARTICLE IN THE OTHER PAPER....IT
        IS BEHAVO R LIKE THIS THAT MAKES YOU G ET DISM ISSED AS NOT NQRM AL.
        Question4:As you know,Iworkedwitha smallteam of11 (Interactive InternetActivities)
        analystsforthe 4th PsychologicalOperations Group in Iraq in anllortto help bringtogether
       the Sunniand Shia forthe flrsttime in a thousand yearsto 'ghtw ith us,and againstour
        commonenemy,AQI(Al-oaeda -Iraq)whowasinfiltrating boththe SunniandShia
        Ieadership to cause chaos and break up the movem entknown as the Sahawa,orSunni
        Awakening.W hatI'm witnessing in Am erlca is the exactopposite.Groups Iike Proud Boys
        and Antifa are LARP'ing in the streets high and drunk.
        Isee so manytactics used by AQ I,being used on American streetsthe lastz-years.I've
       watched as bothforeign and dom estic threats inqltrate gx d,American,patrlotmovements
       forpersonalprofitorthe agenda ofretired generalsoperating from theirDC Lobby ''Groups''
        andtheirMilitaryIndustrialCompléxsub/qtimerelationshipsWheretaxpayerfunded
       weapons I've helpe develop are used to Influence Am erica's foreign and dom estic policies
       and orchestrating the violence we see in the streets with patiotgroups like the Proud Boys,
       whom are being Ied by Jonathan Lee Riches,RogerStone,George Colella,Gen.Flynn and
       others directly associated with yourmovementand e@orts.W hatare yourpersonalfeelings
        onthis?Doyouthihkwewouldbebetterolbrinqingpeopletogetheragainstacommon
       enemy Iike we did w1t11the Sahawa in lraq,oruslng the tadics ofAQIto divide Am erica?
       W hatare you prepared to do to fix this abuse oftaxpayerfunded,bocialm edia psychological
       warfare weapons by aIIsides,DemocraY and Republicans?
        IAM DOING W HAT ICAN ALREADY BERGY.

        Iknow I'm onlyaPFC andpunchingwayovermyweightwiththeseretiredgenerals,butl
        know the truth,and can'tallow itto contlnue.Ilove m y countfy too m uch,even though they
        willIikelydestroy me.W hatthese retiredgeneralshavedone to me(and this,you andall
*                                                                                                    3/4
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          .

10/19/21,8:26PM                                               lPrdY Mail
         Americans)is nothonorable orethical.Ifwe havetowin bybeing more morallybankrupt
         than the people we claim are too m orally bankruptto hold this power,have we actually won
         anything?
         Iwould Iike to also invite you to do an interview on m y show,The BERGY-BI
                                                                                  X which
         broadcasts live at5pm on Monday,W ednesday and Friday.
         O K.CALL CATHERINE.

         Yours,
         Patrick Bergy.



         Sentwith ProtonM ailSecure Em ail.




hops:
    /M ail.prdonmai
                  l.
                   commminbom e ogfbsri
                                      M u8vBc mc 7d- c Hmoypqùcl
                                                               lLsaWnu-bl
                                                                        W pq48iwMrzTc NzlDjR Mmloyc Rupou7xoorA== 4/4
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                                    (15)I
                                        nbox1               IPrdonMail

  Re:Patrick Bergy Book Questions

  From: Patrick Byrne
  To:          patrick.bergy
         '
     .
  Date: Sunday,Augpst8th,2021 at 11:54 AM


     Patrick,

     Good point.Doug iscertified cyberfornsic aand would understand that.Iwillcheck in and make sure Jovan
     knows the significance ofhaving alIinformation destroyed.

     Asfarasthe rest...Iagree itm ay turn outto be the deepestpartofthe scandalyet,the piece you are exploring,
     ltisjustthatIam focusedontheS0metertargetqnow,notthe1O0metertarget.Thatdifferencebetweenus
     explainsa Iot,and Iunderstand whyyou are on the 100 m etertarget.

     Pâtrick M .Byrne

     Sentw ith ProtonM ailSecure Em ail,

                       OriginalMessage -------
             - - - - -- -


                   Saturday,August7th,2021at10:05 PM ,patrickxbqrgy                                    wrote:
                   Patrick

                   Iagree with mosteverything you said.lw anted honest,and lknew I'd getitfrom you.How else can I
                   understand how to 5x thisifIdon'tgetthe truth.

                   lthinkmybookwillbegood.It'snotahitpieceonanyone,it'stoletpeopleknow anAmericanjournalist
                   wasarrestedwhileuploadingtheclaimsofaveritiablewhistle-blower(me,notTore,LoL)exposing
                   Obama/BîdenShadowNetandhow they'veusedtaxpayer'fundedsocialmediapsychologicalwadare
                   weaponsagainstus.

                   lunderstand the election fraud isim portant,butnothing is more im portantto me than exposing what
                   happened to M illie,Gavin and herbrother,Chuck.In m y opiniön,there's nothing more im pcrtantto our
                   nationâlsecuritythanfindingthisout.Securingournationalsecuritywasmyjob,andit'snotdone'
                                                                                                        .
                   Lastthing.lwasthinking..Be carefulwith digitalsLan ofballots.W hen m atched withvoter,and thatcan be
                   done,thevalue ofeachdigitalscan Iestimateatabout$2000whenpaftedand sold to campaigns.Even
                   woHe,itwillensure whatqvqrcandidate usesitwins-I've already heard reportsDoJis Iooking foryou guys
                   to mess up with handling thisstuff.Thatdata is irresistible to m y form ercolleagues,many ofwhich you
                   work closel
                             y with.

                   Yours,
                   Patrick

                   Sentwith ProtonM ailSecufe Em ail.


httpG-.//mail-protonmall.com/u                                                                                             1/6
    Case 9:22-mj-08332-BER Document 87 Entered on FLSD Docket 08/25/2022 Page 10 of 11
11S6/21,3:35 PM                     (15)lnboxl              IPrdonMail
                      OriginalMessage
                  Friday,August6th,2021 at2:44 PM,Patrick Bym e                                wrote:
                  Patrick,

                  No apologiesorexplanationsneeded.You havebeenthroughitall,Icanseeitinyoureyes.Ihave
                  been atthis 15 yearsand am shocked Istayed sane.

                  Feelfree to editwhatlsaidrIdon'tthinkyou are a kook.NorTore.Please tqke anythingoutthat
                                                                                                 .

                  suggestsotherwise,IwishA'Ibrewould be hersel
                                                             fnad noteypgerate beçaauseithuqshercredibility
                  w hen she does.

                  Fatrick M .Byrne

                  Sentwith ProtonM ailSecure Email.

                           OriginalMessage ---.
                     -- - - - - -             --.
                                                -
                     On Thursday:August5th,2021 at9:18 PM ,patrick.bergy
                     wrote:
                     Patrick.

                     Thank you very m uch foryourhonestand candid response.1have disagreed with you on some
                     things,buthave always;cènsistently said you're an honorable person and one ofthe fèw that
                     answered m y questions honestly,Even ifldon'tIike ordisagree,that'sactually quité rare.

                     Aspromised,Iwillputinto fnybook,unedited,and verymuchajpreciate youagre:ing to.speak
                     with m e on my broadcast,

                     I've been through a Iot,and I'm notperfbct.Iwilltake to councilyourcriticism sofmy'behavior.
                     You're notwrong on a Iotssom e,with more conte t,you may undefstand why Igotthis way.

                     Ifyou could passalong Catherine'scontactinform ation,1'd I
                                                                              ike to schedule something after I
                     publish.
     1
     ;               Respectfull
                               y Yours,
     $               Patrick
     I
                     Sentwith ProtonMailSecure Email.
     I
                     ------ -        Original'Message --- ---
     i               OnThursday, August5th,2021 at5:09 PM ,Patrick Byrne                                wrote:
     1
     I               HiPatrick,
     r     '
     !
     1
                     lwillansweryourthoughtsbelow inCAPS(nottoimplyshoutiong,butlusttosqtapartmytext).
                     Patrick M .Byrne

                     Sentwith ProtonMailSecure Em ail.

                     - - - .-   --   OriginalMessage --.-----

hops:
    /M ail.prdonmail.comlmlnboo a ogt sri                                                                           2/6
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 1               12. Inhisaffidavitbeforethiscourt,M r.Byrnediscussesaconversation hehadwithFormer

                    M ayorRudyGiulianiduring ameetingthattook placein January2022,in Miami.Patrick
 F
 l
 3                  ByrneclaimsthiswasthefirsttimehewasmadeawarethatPresidentTrumphadrescinded

 4                  llisappoin% entofSidneyPowellasSpecialCounselandTop-secretclearance,which

 5                  implythesubjectwasneverdiscussedayearearlierinthemeetingbetweenRudyGiuliani,
 6                  PatickBm eandGarrettattheW illard HotelonoraroundJanuary 12th,2021.Such aclaim
 7                  deseslogicbasedonhow upsetPatrickByrnewaswhen Isaw him leafing theW illard

 )
 1
 .
 9
 ,
                    meetingthatday.ThepersonalattacksonmebyByrne,Giuliani,M aras,W inceandW eaver
                    form yrefusaltogo alongw ithpreviousattemptstogetm eto1iethatfollow edtheirJanuary

10                  2022meetinginM iamisupportsmy claimsmswell,andtheirclaimsthatRudy wmstoldthis

11                  byPresidentTrump asdescribedbyPatrick ByrneandRudy Giulianishouldbeconsidered
12                  highly questionable.

13                  FURTIIER DECLARANT SAYETH N0T

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 I                                                                             #
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                                                    PATRICK B.BERGY
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